Case 1:17-cv-05228-NGG-VMS Document 165-1 Filed 12/22/17 Page 1 of 6 PageID #: 6713




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK


   MARTIN JONATHAN BATALLA VIDAL, et
   al.,

                  Plaintiffs,

          v.                                         No. 16-cv-4756 (NGG) (JO)

   ELAINE C. DUKE, in her official capacity as
   Acting Secretary of Homeland Security, et al.,

                  Defendants.


   STATE OF NEW YORK, et al.,

                  Plaintiffs,

          v.
                                                     No. 17-cv-5228 (NGG) (JO)
   DONALD TRUMP, in his official capacity as
   President of the United States, et al.,

                  Defendants.


        MEMORANDUM OF LAW IN SUPPORT OF MOTION OF 87 RELIGIOUS
     ORGANIZATIONS FOR LEAVE TO FILE MEMORANDUM AS AMICI CURIAE IN
       SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY INJUNCTIONS

          The proposed amici are a coalition of congregations and houses of worship as well as

   faith-affiliated professional, civil liberties, and immigrant rights groups who believe that the

   arbitrary rescission of Deferred Action for Childhood Arrivals (“DACA”) will indelibly harm

   them and their communities by forcing committed members of their congregations and

   organizations to leave the country or return to the shadows.

          Amici are Albuquerque Insight Meditation Center; Albuquerque Monthly Meeting of the

   Religious Society of Friends (Quakers); The American Association of Jewish Lawyers and
Case 1:17-cv-05228-NGG-VMS Document 165-1 Filed 12/22/17 Page 2 of 6 PageID #: 6714




   Jurists; American Friends Service Committee; Ansche Chesed, New York City; Arch Street

   United Methodist Church; Capital Area Muslim Bar Association; Catholic Charities Community

   Services of the Archdiocese of New York; Central Conference of American Rabbis; Central

   Pacific Conference of the United Church of Christ; Church Council of Greater Seattle; Church of

   Our Redeemer in Lexington, Massachusetts; Congregation B’nai Jeshurun (New York City);

   Congregation Beit Simchat Torah; Council of Churches of the City of New York; Council on

   American-Islamic Relations – Michigan Chapter; Council of American-Islamic Relations – New

   Jersey Chapter; Council of American-Islamic Relations – New York Chapter; Cuba Presbyterian

   Church (Presbyterian Church, USA), Cuba, New Mexico; Degrees of Change; DMV Sanctuary

   Congregation Network; Dominican Development Center; East End Temple (New York City);

   Emgage Foundation; Episcopal City Mission; Episcopal Dioceses of Massachusetts; Episcopal

   Diocese of New York; Episcopal Dioceses of Western Massachusetts; Episcopal Society of

   Christ Church/The Christ Church Cathedral, Cincinnati, Ohio; Faith Action Network; First

   Christian Church (Disciples of Christ), Santa Fe, New Mexico; First Congregational United

   Church of Christ (Albuquerque, New Mexico); First Presbyterian Church of Santa Fe, New

   Mexico; First Presbyterian Church of Taos, New Mexico; First Unitarian Congregational Society

   in Brooklyn; First United Presbyterian Church of Las Vegas, New Mexico; Global Justice

   Institute; Immanuel Presbyterian Church (Albuquerque, New Mexico); Interfaith Alliance of

   Iowa; Iowa Conference of the United Church of Christ; Islamic Society of Basking Ridge;

   Islamic Society of Central Jersey; Lab/Shul; Legal Advocacy Project of Unitarian Universalist

   FaithAction of New Jersey; Lutheran Social Services of New York (LSSNY); Maryknoll Office

   for Global Concerns; Metropolitan New York Synod of the Evangelical Lutheran Church in

   America; Muslim Advocates; Muslim Bar Association of New York; Muslim Public Affairs




                                                 2
Case 1:17-cv-05228-NGG-VMS Document 165-1 Filed 12/22/17 Page 3 of 6 PageID #: 6715




   Council; Muslim Urban Professionals (Muppies); Muslims for Peace, Inc.; Muslims for

   Progressive Values; National Council of Jewish Women; NETWORK Lobby for Catholic Social

   Justice; New Jersey Interfaith Coalition; New Mexico Conference of Churches; New Mexico

   Faith Coalition for Immigrant Justice; New Sanctuary Coalition of New York; New Sanctuary

   Movement of Philadelphia; New York Board of Rabbis; New York Conference United Church

   of Christ; Pacific Northwest Conference of the United Church of Christ; Presbytery of New York

   City; Queens Federation of Churches; Religious Institute; Romemu; Santa Fe Monthly Meeting

   of the Religious Society of Friends (Quakers); Second Presbyterian Church, Albuquerque, New

   Mexico; Sikh Coalition; Sisterhood of Salaam Shalom; Society for the Advancement of Judaism;

   St. Andrew Presbyterian Church in Albuquerque, New Mexico; St. Luke’s Episcopal Church in

   Long Beach;     St. Mark’s Episcopal Church (Albuquerque, New Mexico); St. Stephens’

   Episcopal Church in Boston; T’ruah: The Rabbinic Call for Human Rights; Temple Israel of the

   City of New York; Temple Sinai (Washington, DC); Town and Village Synagogue, New York,

   New York; Trinity Church Wall Street; Union for Reform Judaism, including Reform Jewish

   Voice of New York State; Unitarian Universalist Mass Action Network; Visitation BVM Church

   in Philadelphia, Pennsylvania; West End Synagogue (New York City); Westminster Presbyterian

   Church of Santa Fe; and Women of Reform Judaism.

          Amici respectfully move for leave to file their memorandum of law, attached to the

   Declaration of Steven A. Zalesin as Exhibit A, as amici curiae in support of plaintiffs’ motions

   for preliminary injunctions. (See Dkt. 123 in Case No. 16-cv-4756 and Dkt. 96 in Case No. 17-

   cv-5228.) “A district court has broad discretion to grant or deny an appearance as amicus curiae

   in a given case.” Citizens Against Casino Gambling v. Kempthorne, 471 F. Supp. 2d 295, 311

   (W.D.N.Y. 2007) (citing United States v. Ahmed, 788 F. Supp. 196, 198 n.1 (S.D.N.Y. 1992),




                                                  3
Case 1:17-cv-05228-NGG-VMS Document 165-1 Filed 12/22/17 Page 4 of 6 PageID #: 6716




   aff’d, 980 F.2d 161 (2d Cir. 1992)). Because there is no district court rule governing the

   appearance of amici, this Court may be guided by the requirements of Federal Rule of Appellate

   Procedure 29. Cf. United States v. Hunter, No. 2:97-cr-059, 1998 U.S. Dist. LEXIS 9869, at *1

   (D. Vt. June 10, 1998) (relying on Appellate Rule 29 to establish the burden of an applicant on a

   motion to file an amicus curiae brief). An amicus curiae other than the United States “may file a

   brief only by leave of court or if the brief states that all parties have consented to its filing.” Fed.

   R. App. P. 29(a)(2). Here, because all parties have consented to the submission of amici’s brief,

   see Declaration of Steven A. Zalesin ¶ 3, the Appellate Rules suggest that amici may file without

   leave of court.

          Nevertheless, leave would be warranted under the standard that governs non-consent

   motions for leave to file a brief as amicus curiae.          In this Circuit, “[t]he usual rationale

   for amicus curiae submissions is that they are of aid to the court and offer insights not available

   from the parties.” Citizens Against Casino Gambling, 471 F. Supp. 2d at 311 (citations omitted);

   see also Am. Bird Conservancy v. Harvey, 232 F. Supp. 3d 292, 299 (E.D.N.Y. 2017) (collecting

   cases). In 2002, then-Judge Alito opined that a “court would be well advised to grant motions

   for leave to file amicus briefs unless it is obvious that the proposed briefs do not meet Rule 29’s

   criteria as broadly interpreted,” and observed that to “freely grant leave” is the “predominant

   practice.” Neonatology Assocs., P.A. v. Comm’r, 293 F.3d 128, 133 (3d Cir. 2002).

          Amici have a strong interest in this case. Amici include representatives of religious

   denominations ranging from the Santa Fe Monthly Meeting of the Religious Society of Friends

   (Quakers) to the Metropolitan New York Synod of the Evangelical Lutheran Church in America,

   and civil rights and legal organizations ranging from the American Association of Jewish

   Lawyers and Jurists to Muslim Advocates. Although their faith traditions and political views




                                                      4
Case 1:17-cv-05228-NGG-VMS Document 165-1 Filed 12/22/17 Page 5 of 6 PageID #: 6717




   differ widely, each of the proposed amici has a compelling interest in avoiding the loss of

   religious leaders, congregants, and family members of congregants who are DACA recipients.

   The particular interest of each coalition member in restraining the implementation of the DACA

   Termination Memo is set forth in Appendix A to the proposed memorandum of law.

          Moreover, amici satisfy the criteria set out in Citizens Against Casino Gambling, 471 F.

   Supp. 2d at 311, of providing aid to the court, and offering insights not available from any party.

   The proposed memorandum of law reflects the unique perspective of this diverse group of

   organizations. Many amici have firsthand experience, based on interactions with clergy and

   congregants who are DACA recipients, of the valuable contributions to faith and community

   made by DACA recipients. Other amici do religious and charitable work in Latin America and

   other regions and therefore have knowledge of the challenges and dangers these young people

   would face if they were deported. Finally, some amici provide social services or sanctuary to

   those targeted for deportation, and therefore have firsthand knowledge of the burden that ending

   DACA would inflict upon religious institutions and communities.

          Finally, amici’s proposed memorandum of law is timely. Amici submitted their proposed

   memorandum by the filing deadline of December 22, 2017.

          In light of amici’s significant interest in this case and the useful information their

   proposed memorandum of law would provide the Court on these important issues, amici

   respectfully request that the Court grant this Motion for Leave to File Memorandum of Law as

   Amici Curiae in Support of Plaintiffs’ Motions for Preliminary Injunctions, and accept the

   memorandum of law accompanying the Declaration of Steven A. Zalesin as Exhibit A for filing.

   Dated: December 22, 2017
          New York, New York




                                                   5
Case 1:17-cv-05228-NGG-VMS Document 165-1 Filed 12/22/17 Page 6 of 6 PageID #: 6718




                                      Respectfully submitted,

                                      PATTERSON BELKNAP WEBB & TYLER LLP


                                      By: /s/ Steven A. Zalesin
                                                         Steven A. Zalesin
                                          Adeel A. Mangi
                                          Michael N. Fresco*
                                          Zachary Kolodin*
                                           1133 Avenue of the Americas
                                           New York, New York 10036
                                           Telephone: (212) 336-2000
                                           Facsimile: (212) 336-2222
                                          sazalesin@pbwt.com
                                          aamangi@pbwt.com
                                          mfresco@pbwt.com
                                          zkoldin@pbwt.com

                                             Johnathan Smith
                                             Sirine Shebaya*
                                             Juvaria Khan*
                                             MUSLIM ADVOCATES
                                             P.O. Box 66408
                                             Washington, DC 20035
                                             (202) 897-2622
                                             johnathan@muslimadvocates.org
                                             sirine@muslimadvocates.org
                                             juvaria@muslimadvocates.org

                                      * EDNY Admission Pending

                                      Attorneys for Amici Curiae 87 Religious
                                      Organizations




                                         6
